JS 44 (Rev. 04/21)

purpose of initiating the civil docket sheet.

I. (a) PLAINTIFFS
MITAVION WILLIAMS

(b) County of Residence of First Listed Plaintiff

Case 1:21-cv-03015-A GF e

The JS 44 civil cover sheet and the information contained herein neither replace nor su
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

DOUGLAS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Ralph Goldberg, Goldberg & Cuvillier, P.C.,

3469 Lawrenceville Hwy.,Ste. 102

Tucker GA 30084 770-670-7343 770-670-7344 (fax)

t1-3
VER SHEET

Filed 07/27/21 Page 1lof1

pplement the filing and service of pleadings or other papers as required by law, except as

DEFENDANTS
VICTOR HILL

County of Residence of First Listed Defendant _ CLAYTON
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED.

NOTE:

Attorneys (/f Known)

Jack Reynolds Hancock

661 Forest Parkway, Ste. E

Forest Park GA 30297: ihancock@fmalaw.com

 

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

Ill.

[J]! US. Government
Plaintiff
C] 2 U.S. Govemment

Defendant

[x]3 Federal Question

(U.S. Government Not a Party)

C] 4 Diversity
(Indicate Citizensh

ip of Parties in Item LI)

 

IV. NATURE OF SUIT (Place an "X” in One Box Only)

CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
PTF DEF PTF DEF
Citizen of This State [11 (4) 1 Incorporated or Principal Place [CJ4 C4
of Business In This State
Citizen of Another State LJ2 [) 2 incorporated and Principal Place [Js [5
of Business In Another State
Citizen or Subject of a C13 [J 3. Foreign Nation [Ll« [6

Foreign Country

Click here for: Nature of S

 

uit Code Descriptions.
OTHERSTATUTES _]

 

 

 

 

 

| CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY
110 Insurance PERSONAL INJURY PERSONAL INJURY | 1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane C] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | _]690 Other 28 USC 157 3729%a))
140 Negotiable Instrument Liability C] 367 Health Care/ INTELLECTUAL T] 400 State Reapportionment
[_] 150 Recovery of Overpayment ) 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS __[ ] 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
~ 151 Medicare Act |] 330 Federal Employers’ Product Liability A 830 Patent 450 Commerce
152 Recovery of Defaulted Liability 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 4 340 Manne Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability | 840 Trademark Corrupt Organizations
[] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR | 880 Defend Trade Secrets [_] 480 Consumer Credit
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
LC] 160 Stockholders’ Suits 4 355 Motor Vehicle = 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal | 720 Labor/Management SOCIAL SECURITY Protection Act
195 Contract Product Liability 360 Other Personal Property Damage Relations 86] HIA (1395ff) 490 Cable/Sat TV
196 Franchise Injury CL] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/

 

r

751 Family and Medical
Leave Act

790 Other Labor Litigation

 

230 Rent Lease & Ejectment

240 Torts to Land

245 Tort Product Liability
[_} 290 All Other Real Property

 

442 Employment

443 Housing/
Accommodations

a 445 Amer. w/Disabilities -
Employment

|] 446 Amer. w/Disabilities -

Other

|_] 448 Education

 

| 362 Personal Injury - Product Liability
Medical Malpractice
[____REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |
| _]210 Land Condemnation |x| 440 Other Civil Rights Habeas Corpus:
[_] 220 Foreclosure || 441 Voting [_] 463 Alien Detainee

|_| $10 Motions to Vacate
Sentence

|_| 530 General

|} 535 Death Penalty

791 Employee Retirement
Income Security Act

IMMIGRATION

864 SSID Title XVI
|] 865 RSI (405(g))

863 DIWC/DIWW (405(g)) [_

Exchange
|_| 890 Other Statutory Actions

 

 

FEDERAL TAX SUITS

 

 

|] 870 Taxes (U.S. Plaintiff
or Defendant)

J] 871 IRS—Third Party
26 USC 7609

 

Other:

340 Mandamus & Other

$50 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

 

462 Naturalization Application
465 Other Immigration
Actions

 

a 89] Agricultural Acts
893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
5 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
|] 950 Constitutionality of
State Statutes

 

 

 

V. ORIGIN (Piace an “x" in One Box Only)

ix] 1 Original
Proceeding

VI. CAUSE OF ACTION

2 Removed from
State Court

3

42 U.S.C. § 1983

CIVIL RIGHTS

 

Remanded from
Appellate Court

Brief description of cause:

4 Reinstated or 5 Transferred from
0 O Another District

(specify)
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

Reopened

Transfer

6 Multidistrict
Litigation -

8 Multidistrict
Litigation -
Direct File

DEMAND $ CHECK YES only if demanded in complaint:

VII. REQUESTED IN
COMPLAINT:

(1 CHECK IF THIS IS A CLASS ACTION
UNDER RULE 23, F.R.Cv.P.

VIII. RELATED CASE(S)

IF ANY

(See instructions):

JUDGE

WILLIAM RAY

750,000

JURY DEMAND:

[x]Yes [No

DOCKET NUMBER 1:20-CV-02662

 

DATE

FOR OFFICE USE ONLY
RECEIPT #

2(27//

AMOUNT

APPLYING IFP

a ATTORNEY Z RECORD

JUDGE

MAG. JUDGE

—.
